            Case 20-00026             Doc 10          Filed 02/12/20 Entered 02/12/20 10:53:56                                   Desc Stamped
                                                           Summons Page 1 of 1

                                                                         U.S. Bankruptcy Court
                                                                        Northern District of Illinois

              In re:
              Bankruptcy Case No. 19−28888
              KATHERINE E. KOUKOULIS
                                                                                                             Debtor
              Adversary Proceeding No. 20−00026
              ROBERT EGAN
                                                                                                             Plaintiff
              v.
              KATHERINE KOUKOULIS
                                                                                                             Defendant
                                                        ALIAS SUMMONS IN AN ADVERSARY PROCEEDING

             To: KATHERINE KOUKOULIS
             YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of the Bankruptcy
             Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall submit a motion or
             answer to the complaint within 35 days of issuance.
             Address of Clerk
                                                        Clerk, U.S. Bankruptcy Court
                                                        Northern District of Illinois
                                                        219 S Dearborn
                                                        Chicago, IL 60604
             At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


             Name and Address of Plaintiff's Attorney
                                                        Robert A. Egan
                                                        20 South Clark Street
                                                        Suite 2050
                                                        Chicago, IL 60603
             If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

             YOU ARE NOTIFIED that a status hearing has been set at the following time and place:


             Address
                                                        Dirksen Federal Building
                                                        219 South Dearborn                                 Status Hearing Date and Time
                                                        Courtroom 644                                      04/01/2020 at 10:30AM
                                                        Chicago IL 60604
             IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
             JUDGEMENT BY THE BANKRUPTCY COURT AND JUDGEMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE
             RELIEF DEMANDED IN THE COMPLAINT.




                   Date Issued


                   02 / 12 / 2020

                                                                                            Jeffrey P. Allsteadt, Clerk Of Court



ILNB 2012
